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                 IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF GEORGIA
                          ATLANTA DIVISION

 ROSA HAMPTON individually, and
 as Administrator of the Estate of
 MAURICE HAMPTON, and on behalf
 of the minor children of the Estate of
 Maurice Hampton
              Plaintiff
 v.                                          CIVIL ACTION NO.
                                             1:13cv584-TWT
 THOMAS ATZERT, JR. individually,
 and in his capacity as a City of Atlanta
 Police Officer
              Defendant


                                    JUDGMENT

      This action came before the court for a trial by jury. The issues have been tried

and on February 19, 2015 the jury rendered its verdict in favor of the Defendant

THOMAS ATZERT, JR. individually, and in his capacity as a City of Atlanta Police

Officer and against the Plaintiff ROSA HAMPTON individually, and as Administrator

of the Estate of MAURICE HAMPTON, and on behalf of the minor children of the

Estate of Maurice Hampton and in favor of the defendant THOMAS ATZERT, JR.

individually, and in his capacity as a City of Atlanta Police Officer and the Court

having ruled in the Defendant’s favor as to his claim for qualified immunity based

upon the factual finding by the jury.
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      It is Ordered and Adjudged that plaintiff take nothing, that the action be

dismissed and that the defendants recover of the plaintiff costs of action.

                                                     February 23, 2015

                                                     JAMES N. HATTEN, Clerk

                                                     By /s/Sheila T. Sewell
                                                           Deputy Clerk




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